              Case 5:19-cr-00680-LHK Document 62 Filed 06/14/22 Page 1 of 3



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 7

 8   Counsel for Defendant Delacruz
 9

10                                 IN THE UNITED STATES DISTRICT COURT
11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                           SAN JOSE DIVISION
13

14    UNITED STATES OF AMERICA,                              Case No.: CR 19–680 LHK
15                    Plaintiff,                             STIPULATION AND [PROPOSED]
                                                             ORDER TO CONTINUE STATUS
16            v.                                             CONFERENCE AND DETENTION
                                                             HEARING
17    RENE DELACRUZ,
18                    Defendant.
19

20                                              STIPULATION
21
           Defendant Rene Delacruz, through counsel, and the Government, through its counsel submit
22
     this stipulation and respectfully request that the Status and Detention Hearing, currently scheduled
23
     for June 15, 2022 be rescheduled to June 29, 2022.
24
           The reason for the request the parties have conferred with the United States Probation Officer
25
     assigned to this matter, and Probation has requested additional time to identify a suitable program
26
     for Mr. Delacruz. As such, the parties stipulate and agree that the currently set Status of Preliminary
27
     Hearing and Detention Hearing should be continued to June 29, 2022, for Detention Hearing and
28
     Status of Preliminary Hearing. The parties further agree that the requested delay is reasonable under
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
     DELACRUZ, CR 19–680 LHK
                                                         1
              Case 5:19-cr-00680-LHK Document 62 Filed 06/14/22 Page 2 of 3



 1   the circumstances and that such delay does not violate the mandates of Rule 32.1.
 2         IT IS SO STIPULATED.
 3

 4   Dated:      June 14, 2022

 5                                                           JODI LINKER
                                                             Federal Public Defender
 6                                                           Northern District of California
 7                                                                     /S
 8                                                           SEVERA KEITH
                                                             Assistant Federal Public Defender
 9

10   Dated:      June 14, 2022

11                                                           STEPHANIE HINDS
                                                             United States Attorney
12                                                           Northern District of California
13                                                                     /S
                                                             ANDREW LIAO
14
                                                             Assistant United States Attorney
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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
     DELACRUZ, CR 19–680 LHK
                                                         2
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 3                                 IN THE UNITED STATES DISTRICT COURT
 4                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                           SAN JOSE DIVISION
 6

 7    UNITED STATES OF AMERICA,                             Case No.: CR 19–680 LHK
 8                    Plaintiff,                            [PROPOSED] ORDER TO CONTINUE
                                                            STATUS CONFERENCE AND
 9            v.                                            DETENTION HEARING
10    RENE DELACRUZ,
11                   Defendant.
12
           Pursuant to the parties’ stipulation, and for good cause shown, the Court HEREBY ORDERS
13
     that the Status of Preliminary Hearing and Detention Hearing currently scheduled on June 15, 2022,
14
     be continued to June 29, 2022 at 1:30 p.m., and set on that date for Detention Hearing and Status of
15
     Preliminary Hearing. For the reasons set forth in the Parties’ Stipulation, the Court finds that any
16
     delay is reasonable and comports with Rule 32.1.
17
           IT IS SO ORDERED.
18

19

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21   Dated:        ______________
                                                            HONORABLE SUSAN VAN KEULEN
22                                                          United States Magistrate Judge
23

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     [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
     DELACRUZ, CR 19–680 LHK
                                                        1
